                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )       Case No. 1:09-CR-181
vs.                                                 )
                                                    )
GLENN SKILES                                        )       COLLIER/CARTER

                               MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on February 14, 2011, in
accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
3148 on the Petition for Action on Conditions of Pretrial Release (Doc. 982).

        After being sworn in due form of law, the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

        It was determined defendant had been provided with a copy of the Petition for Action on
Conditions of Pretrial Release and had the opportunity of reviewing those documents with his
attorney. The defendant was advised of his right to a hearing but waived the hearing and consented
to the entry of an order finding that he had violated his conditions of release.

       Based on the waiver and the sworn petition, I conclude the defendant has violated his
conditions of pretrial release and therefore REVOKE his conditions of bond.

         It is ORDERED the defendant be DETAINED WITHOUT BAIL.

         ENTER.

                                             s/William B. Mitchell Carter
                                             UNITED STATES MAGISTRATE JUDGE




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